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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION

MONTANA MEDICAL CV 21—108-M—DWM
ASSOCIATION, et al.,

Plaintiffs,

ORDER

vs.
AUSTIN KNUDSEN, et al.,

Defendants.

 

 

Having reviewed the final pretrial conference record, the docket, and the
parties’ exhibits lists,

IT IS ORDERED that:

(1) The following will-offer exhibits are not objected to and are admitted:
5, 9, 12, 38, 39, 40, 42, 44, 54, 55, 56, 57, 58, 59, 62, 63, 64, 66, 72, 74, 100, 101,
102, 105, 106, 107, 108, 109, 110, 115, 118, 119, 206, 207, 208, 209, 210, 211,

212, 213, 214, and 215. (see Doc. 143.)
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(2) The following will-offer exhibits were objected to, however their
admissibility was considered in the October 18, 2022 ruling on the parties’ motions
in limine, and are therefore admitted: 1, 2, 3, 8, 21, 22, 23, 25, and 28. (see
Doc. 150.)

DATED this Say of October, 2022.

TOM,

 
